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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 URSULA NEWELL-DAVIS, ET AL.,                 * CIVIL ACTION
    Plaintiffs                                * NO. 21-49
                                              *
 VERSUS                                       * SECTION: "G" (1)
                                              *
 COURTNEY N. PHILLIPS, ET AL.,                * JUDGE NANNETTE JOLIVETTE BROWN
    Defendants                                *
                                              * MAGISTRATE JUDGE
                                              * JANIS VAN MEERVELD


                 ORDER CANCELLING SETTLEMENT CONFERENCE


       After reviewing settlement submissions, the Court has determined that a settlement

conference would not be productive at this time. Therefore, the settlement conference set for

Friday, March 11, 2022, at 1:00 p.m., is CANCELLED. The parties may contact the undersigned

Magistrate Judge to reschedule the conference at any time.

       New Orleans, Louisiana, this 8th day of March, 2022.




                                                            Janis van Meerveld
                                                       United States Magistrate Judge
